Case 1:17-cv-00928-RBK-KMW Document 50-10 Filed 01/24/20 Page 1 of 1 PagelD: 457

NEW JERSEY DEPARTMENT OF THE TREASURY
DIVISION OF REVENUB AND ENTERPRISE SERVICES

HEALTHCARE REVENUE RRCOVERY GROUP, LLC

0600233404

I, the Treasurer of the State of New Jersey, do hereby certify
that the above-name did on 20th day of Noyember, 2013 file and
record in the department a Certificate of Renewal of Alternate

Name,
1. BUSINESS NAME)
HEALTHCARE REVENUE RBCOVERY GROUP, LLC
2, BUSINESS ID,:
0600233404
3, ALTERNATES NAME:
ARS ACCOUNT RESOLUTION SERVICES

4, ALTERNATE NAME IS VALID UNTIL:
December 19, 2018
5, ACTIVITY TO BE CONDUCTED USING ALTERNATE NAME,

Buainess intend to use the name in New Jersey,

we IN TESTIMONY WHEREOP, J heave
1 hereanio sef my hand aud affixed my
Offielal Seal at Trenton, this
20th day of November, 2013

mn A:

Andrew P Sidanion-Eriiof
State Treaster

certification A 1302472537
Verify this ceriificale at
hitps/Amvw Lsiateujats/TYTR_StaudlhgCec/ISP/Verlfy_CertJsp

EXHIBIT
ARS 03

FE

 
